       Case 1:10-cr-00217-WTL-MJD                          Document 438               Filed 09/09/15               Page 1 of 1 PageID #:
                                                                  1663
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                        Rene Israel Ortega                                 )
                                                                           )    Case No: 1:10CR00217-003
                                                                           )    USM No: 45438-424
Date of Original Judgment:                            09/11/2013           )
Date of Previous Amended Judgment:                                         )    Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Ortega's sentence of 70 months was a variance pursuant to 18 U.S.C. §3553(a) factors, and the amended
    guideline range does not provide an option for a lower sentence. Therefore, he is not eligible for a sentence
    reduction pursuant to Amendment 782.



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Except as otherwise provided, all provisions of the judgment dated                                                  shall remain in effect.
IT IS SO ORDERED.
Order Date:
                     9/9/15
                                                                                                         Judge’s signature


Effective Date:                                                           Honorable William T. Lawrence, U.S. District Court Judge
                     (if different from order date)                                                    Printed name and title
